              Case 22-12916-MBK                      Doc 25         Filed 05/04/22 Entered 05/04/22 17:14:32                                       Desc Main
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              Fill in this information to identify your case:

 Debtor 1                     George Sariotis
                              First Name                    Middle Name                    Last Name

 Debtor 2                     Cindy Sariotis
 (Spouse if, filing)          First Name                    Middle Name                    Last Name


 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number            3:22-bk-12916
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person in
control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a sole
proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                  Unsecured claim
 1                                                               What is the nature of the claim?                                                  $5,234.00
              Aaron and Company
                                                                 As of the date you file, the claim is: Check all that apply
                                                                         Contingent
                                                                         Unliquidated
                                                                         Disputed
                                                                         None of the above apply

                                                                 Does the creditor have a lien on your property?

                                                                         No
              Contact                                                    Yes. Total claim (secured and unsecured)
                                                                                Value of security:                                    -
              Contact phone                                                     Unsecured claim


 2                                                               What is the nature of the claim?                                                  $0.00
              Aluma Systems Concrete
              PO Box 91473                                       As of the date you file, the claim is: Check all that apply
              Chicago, IL 60693-1473                                     Contingent
                                                                         Unliquidated
                                                                         Disputed
                                                                         None of the above apply

                                                                 Does the creditor have a lien on your property?
              Lauri A Hudson, Esq.
                                                                         No
              Contact                                                    Yes. Total claim (secured and unsecured)
                                                                                Value of security:                                    -

B104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             Page 1

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 Debtor 1
 Debtor 2          Sariotis, George & Sariotis, Cindy                                               Case number (if known)           3:22-bk-12916

            Contact phone                                                         Unsecured claim


 3                                                              What is the nature of the claim?                                                 $5,730.00
            American Builders
            1 American Way                                      As of the date you file, the claim is: Check all that apply
            Walden, NY 12586-2821                                       Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)
                                                                                Value of security:                                    -
            Contact phone                                                       Unsecured claim


 4                                                              What is the nature of the claim?                                                 $7,384.00
            Amex
            PO Box 981537                                       As of the date you file, the claim is: Check all that apply
            El Paso, TX 79998-1537                                      Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)

            (800) 874-2717                                                        Value of security:                                  -
            Contact phone                                                         Unsecured claim


 5                                                              What is the nature of the claim?                                                 $29.00
            Avant LLC/Web Bank
            222 N La Salle St                                   As of the date you file, the claim is: Check all that apply
            Chicago, IL 60601-1003                                      Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)

            (800) 712-5407                                                        Value of security:                                  -
            Contact phone                                                         Unsecured claim


 6                                                              What is the nature of the claim?                                                 $13,857.00
            Discover Fin Svcs LLC
            PO Box 15316                                        As of the date you file, the claim is: Check all that apply
            Wilmington, DE 19850-5316                                   Contingent
                                                                        Unliquidated
                                                                        Disputed


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                                                                         None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)

            (800) 347-2683                                                        Value of security:                                  -
            Contact phone                                                         Unsecured claim


 7                                                              What is the nature of the claim?                                                 $41,228.00
            Dreyers Lumber & Hardward Inc.
            20 Watchung Ave                                     As of the date you file, the claim is: Check all that apply
            Chatham, NJ 07928-2751                                      Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                         None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)
                                                                                Value of security:                                    -
            Contact phone                                                       Unsecured claim


 8                                                              What is the nature of the claim?                                                 $220,053.90
            Hudson Insurance Company
            Westerman Sheehy Keenan                             As of the date you file, the claim is: Check all that apply
            333 Earle Ovington Blvd Ste 702                             Contingent
            Uniondale, NY 11553-3622                                    Unliquidated
                                                                        Disputed
                                                                         None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)
                                                                                Value of security:                                    -
            Contact phone                                                       Unsecured claim


 9                                                              What is the nature of the claim?                                                 $6,761.10
            Internal Revenue Service
            51 Haddonfield Rd Ste 300                           As of the date you file, the claim is: Check all that apply
            Cherry Hill, NJ 08002-4805                                  Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?
            Jessica Aichhorn

            jessica.a.aichhorn                                           No
            Contact                                                      Yes. Total claim (secured and unsecured)
                                                                                Value of security:                                    -
            Contact phone                                                       Unsecured claim



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 10                                                             What is the nature of the claim?                                                 $6,091.00
            Jaeger Lumber and Supp Ly Co
            Inc                                                 As of the date you file, the claim is: Check all that apply
            1835 Swarthmore Ave                                         Contingent
            Lakewood, NJ 08701-4533                                     Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)
                                                                                Value of security:                                    -
            Contact phone                                                       Unsecured claim


 11                                                             What is the nature of the claim?                                                 $14,778.00
            Joseph Fazio Wall L Lc
            5001 Routes 33 & 34                                 As of the date you file, the claim is: Check all that apply
            Farmingdale, NJ 07727                                       Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)
                                                                                Value of security:                                    -
            Contact phone                                                       Unsecured claim


 12                                                             What is the nature of the claim?                                                 $18,974.00
            Jpmcb Card
            PO Box 15369                                        As of the date you file, the claim is: Check all that apply
            Wilmington, DE 19850-5369                                   Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)

            (800) 945-2000                                                        Value of security:                                  -
            Contact phone                                                         Unsecured claim


 13                                                             What is the nature of the claim?                                                 $161.00
            Mission Lane/Tab Bank
                                                                As of the date you file, the claim is: Check all that apply
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?


B 104 (Official Form 104)                       For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                   Page 4

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 Debtor 2          Sariotis, George & Sariotis, Cindy                                               Case number (if known)           3:22-bk-12916


                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)
                                                                                Value of security:                                    -
            Contact phone                                                       Unsecured claim


 14                                                             What is the nature of the claim?                                                 $1,782.00
            Tcm Bank NA
            PO Box 31481                                        As of the date you file, the claim is: Check all that apply
            Tampa, FL 33631-3481                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)

            (703) 841-5102                                                        Value of security:                                  -
            Contact phone                                                         Unsecured claim


 15                                                             What is the nature of the claim?                                                 $732.00
            Wells Fargo
            Attn Bankruptcy                                     As of the date you file, the claim is: Check all that apply
            1 Home Campus #                                             Contingent
            MACX2303-01A                                                Unliquidated
            Des Moines, IA 50328-0001                                   Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)

            (800) 642-4720                                                        Value of security:                                  -
            Contact phone                                                         Unsecured claim


 16                                                             What is the nature of the claim?                                                 $5,237.00
            Woodhaven Lumber & Millwork
            200 James St                                        As of the date you file, the claim is: Check all that apply
            Lakewood, NJ 08701-4103                                     Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)
                                                                                Value of security:                                    -
            Contact phone                                                       Unsecured claim


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

B 104 (Official Form 104)                       For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                  Page 5

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 Debtor 1
 Debtor 2          Sariotis, George & Sariotis, Cindy                                               Case number (if known)           3:22-bk-12916


 X     /s/ George Sariotis                                                             X   /s/ Cindy Sariotis
       George Sariotis                                                                     Cindy Sariotis
       Signature of Debtor 1                                                               Signature of Debtor 2


       Date      May 3, 2022                                                               Date      May 3, 2022




B 104 (Official Form 104)                       For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                 Page 6

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              Fill in this information to identify your case:

 Debtor 1                   George Sariotis
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Cindy Sariotis
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number           3:22-bk-12916
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $          1,552,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $                9,820.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $          1,561,820.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $             523,271.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $              74,685.85

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $             354,575.00


                                                                                                                                     Your total liabilities $                   952,531.85


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                9,922.32

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                6,894.25

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 Debtor 2     Sariotis, George & Sariotis, Cindy                                             Case number (if known) 3:22-bk-12916

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $        11,010.21


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            74,685.85

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             74,685.85




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
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               Fill in this information to identify your case and this filing:

 Debtor 1                    George Sariotis
                             First Name                             Middle Name                     Last Name

 Debtor 2                    Cindy Sariotis
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number            3:22-bk-12916                                                                                                                        Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.        Where is the property?




 1.1                                                                        What is the property? Check all that apply


        1801 Pitney St
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Oakhurst                          NJ        07755-2840                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                              $932,000.00                 $932,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only                              Fee Simple
                                                                                   Debtor 2 only
        County                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            residence




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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 Debtor 2        Sariotis, George & Sariotis, Cindy                                                                 Case number (if known)          3:22-bk-12916

       If you own or have more than one, list here:
 1.2                                                                  What is the property? Check all that apply


       61 Redwood Dr
                                                                         Single-family home                               Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
       Street address, if available, or other description                                                                 Creditors Who Have Claims Secured by Property .
                                                                             Condominium or cooperative
                                                                        
                                                                            Manufactured or mobile home
                                                                                                                           Current value of the          Current value of the
       Ocean                            NJ         07712-8711               Land                                          entire property?              portion you own?
       City                             State           ZIP Code            Investment property                                 $620,000.00                    $620,000.00
                                                                            Timeshare
                                                                                                                           Describe the nature of your ownership interest
                                                                            Other                                         (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one       a life estate), if known.
                                                                            Debtor 1 only
                                                                            Debtor 2 only
       County                                                               Debtor 1 and Debtor 2 only
                                                                                                                               Check if this is community property
                                                                         At least one of the debtors and another             (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:

                                                                      Debtor and non-debtor spouse have a 95% interest in this property and a
                                                                      5% interest held by Gregory and Thalia Sariotis, husband and wife


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                      $1,552,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
    Yes

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                              $0.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                     Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.       Describe.....
                                        Various Household goods and furnishings                                                                                     $3,000.00




Official Form 106A/B                                                     Schedule A/B: Property                                                                           page 2
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7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.        Describe.....
                                            Electronics two TVS                                                                                                      $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.       Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.       Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            Various clothing                                                                                                        $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes.        Describe.....
                                            Misc jewlery                                                                                                            $1,000.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                              $5,300.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                              cash                                   $420.00

Official Form 106A/B                                                                     Schedule A/B: Property                                                          page 3
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 Debtor 1
 Debtor 2        Sariotis, George & Sariotis, Cindy                                                             Case number (if known)   3:22-bk-12916


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:


                                        17.1.    Checking Account             Amboy Bank                                                                 $4,000.00



                                        17.2.    Checking Account             Manasquan Bank                                                             unknown


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                        Type of account:                      Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 4
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27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                                               Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
    Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                                  Surrender or refund
                                                                                                                                                               value:
                                           Minnesota Mutual Life Insurance                                                                                                 unknown


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
    Yes.      Describe each claim.........
                                                        Lawsuit against Matthew Tucci; Case No.: MON-L-3242-19                                                             unknown


35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................               $4,420.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.




Official Form 106A/B                                                        Schedule A/B: Property                                                                              page 5
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 Debtor 2        Sariotis, George & Sariotis, Cindy                                                                         Case number (if known)         3:22-bk-12916
37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
   Yes.     Go to line 38.


                                                                                                                                                              Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

38. Accounts receivable or commissions you already earned
    No
     Yes.     Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
     Yes.     Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    No
     Yes.     Describe.....


41. Inventory
    No
     Yes.     Describe.....


42. Interests in partnerships or joint ventures
    No
    Yes.      Give specific information about them...................
                                      Name of entity:                                                                         % of ownership:

                                           1973 LLC
                                           Consulting Business                                                                                     %                        $100.00


43. Customer lists, mailing lists, or other compilations
   No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

              No
               Yes.     Describe.....


44. Any business-related property you did not already list
    No
     Yes. Give specific information.........


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached for
     Part 5. Write that number here.....................................................................................................................                 $100.00

 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.    Go to line 47.



Official Form 106A/B                                                        Schedule A/B: Property                                                                              page 6
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 Debtor 2         Sariotis, George & Sariotis, Cindy                                                                                    Case number (if known)   3:22-bk-12916

 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................            $1,552,000.00
 56. Part 2: Total vehicles, line 5                                                                                 $0.00
 57. Part 3: Total personal and household items, line 15                                                        $5,300.00
 58. Part 4: Total financial assets, line 36                                                                    $4,420.00
 59. Part 5: Total business-related property, line 45                                                             $100.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $9,820.00             Copy personal property total               $9,820.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,561,820.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 7
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              Fill in this information to identify your case:

 Debtor 1                 George Sariotis
                          First Name                        Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number           3:22-bk-12916
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions.           11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 1 Exemptions
                                                                                                                                  11 USC § 522(d)(1)
      1801 Pitney St
                                                                   $932,000.00                                   $27,900.00
      Oakhurst NJ, 07755-2840                                                                100% of fair market value, up to
      residence                                                                               any applicable statutory limit
      Line from Schedule A/B: 1.1

      Various Household goods and                                                                                                 11 USC § 522(d)(5)
      furnishings
                                                                      $3,000.00                                    $1,325.00
      Line from Schedule A/B: 6.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      Various clothing                                                                                                            11 USC § 522(d)(5)
      Line from Schedule A/B: 11.1
                                                                      $1,000.00                                      $500.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Misc jewlery                                                                                                                11 USC § 522(d)(5)
      Line from Schedule A/B: 12.1
                                                                      $1,000.00                                      $500.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Amboy Bank                                                                                                                  11 USC § 522(d)(5)
      Line from Schedule A/B: 17.1
                                                                      $4,000.00                                    $4,000.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 4
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 Debtor 1
 Debtor 2    Sariotis, George & Sariotis, Cindy                                                       Case number (if known)     3:22-bk-12916
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B
 3. Are you claiming a homestead exemption of more than $189,050
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 2 of 4
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 Debtor 1
 Debtor 2       Sariotis, George & Sariotis, Cindy                                                          Case number (if known)     3:22-bk-12916

 Fill in this information to identify your case:

 Debtor 1
                         First Name                         Middle Name                    Last Name

 Debtor 2                Cindy Sariotis
 (Spouse if, filing)     First Name                         Middle Name                    Last Name


 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number           3:22-bk-12916
 (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                 amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                           4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions.           11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim           Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 2 Exemptions
                                                                                                                                     11 USC § 522(d)(1)
      1801 Pitney St
                                                                   $932,000.00                                   $27,900.00
      Oakhurst NJ, 07755-2840                                                                100% of fair market value, up to
      residence                                                                               any applicable statutory limit
      Line from Schedule A/B: 1.1

      Various Household goods and                                                                                                    11 USC § 522(d)(5)
      furnishings
                                                                      $3,000.00                                    $1,325.00
      Line from Schedule A/B: 6.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      Various clothing                                                                                                               11 USC § 522(d)(5)
      Line from Schedule A/B: 11.1
                                                                      $1,000.00                                      $500.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Misc jewlery                                                                                                                   11 USC § 522(d)(5)
      Line from Schedule A/B: 12.1
                                                                      $1,000.00                                      $500.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                               page 3 of 4
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 Debtor 1
 Debtor 2    Sariotis, George & Sariotis, Cindy                                                       Case number (if known)     3:22-bk-12916
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B
 3. Are you claiming a homestead exemption of more than $189,050?
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 4 of 4
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              Fill in this information to identify your case:

 Debtor 1                   George Sariotis
                            First Name                       Middle Name                     Last Name

 Debtor 2                   Cindy Sariotis
 (Spouse if, filing)        First Name                       Middle Name                     Last Name


 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number           3:22-bk-12916
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     McCormick 110 LLC                        Describe the property that secures the claim:                   unknown              $932,000.00                      $0.00
         Creditor's Name
                                                  1801 Pitney St, Oakhurst, NJ
                                                  07755-2840
         c/o Dembo Brown &
                                                  residence
         Burns LLP                                As of the date you file, the claim is: Check all that
         1300 Route 73 Ste 205                    apply.
         Mount Laurel, NJ 08054                    Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a               Other (including a right to offset)     1st Mortgage
       community debt

 Date debt was incurred                                     Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 4
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 Debtor 1 George Sariotis                                                                                  Case number (if known)   3:22-bk-12916
              First Name                  Middle Name                     Last Name
 Debtor 2 Cindy Sariotis
              First Name                  Middle Name                     Last Name


 2.2    McCormick 110, LLC                         Describe the property that secures the claim:                 $388,000.00         $620,000.00          $0.00
        Creditor's Name
                                                   61 Redwood Dr, Ocean, NJ
                                                   07712-8711
                                                   Debtor and non-debtor spouse
                                                   have a 95% interest in this property
                                                   and a 5% interest held by Gregory
                                                   and Thalia Sariotis, husband and
        c/o Dembo Brown &
                                                   wife
        Burns LLP                                  As of the date you file, the claim is: Check all that
        1300 Route 73 Ste 205                      apply.
        Cherry Hill, NJ 08002                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another           Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     1st Mortgage
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.3    Ocean First Bank                           Describe the property that secures the claim:                    unknown         $1,552,000.00         $0.00
        Creditor's Name
                                                   1801 Pitney St, Oakhurst, NJ
                                                   07755-2840
                                                   residence
        c/o Meyner & Landis LLP                    As of the date you file, the claim is: Check all that
        1 Gateway Ctr Ste 2500                     apply.
        Newark, NJ 07102-5323                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Mortgage
       community debt

 Date debt was incurred                                     Last 4 digits of account number




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 4
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 Debtor 1 George Sariotis                                                                                  Case number (if known)          3:22-bk-12916
              First Name                  Middle Name                     Last Name
 Debtor 2 Cindy Sariotis
              First Name                  Middle Name                     Last Name


 2.4    Ocean First Bank                           Describe the property that secures the claim:                     unknown                 $620,000.00              $0.00
        Creditor's Name
                                                   61 Redwood Dr, Ocean, NJ
                                                   07712-8711
                                                   Debtor and non-debtor spouse
                                                   have a 95% interest in this property
                                                   and a 5% interest held by Gregory
                                                   and Thalia Sariotis, husband and
                                                   wife
        c/o Meyner & Landis LLP                    As of the date you file, the claim is: Check all that
        1 Gateway Ctr Ste 2500                     apply.
        Newark, NJ 07102-5323                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another           Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     2nd mortgage
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.5    Selene Finance Lp                          Describe the property that secures the claim:                  $135,271.00                $932,000.00              $0.00
        Creditor's Name
                                                   1801 Pitney St, Oakhurst, NJ
                                                   07755-2840
                                                   residence
                                                   As of the date you file, the claim is: Check all that
        9990 Richmond Ave                          apply.
        Houston, TX 77042-4559                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Mortgage
       community debt

 Date debt was incurred         2011-05                     Last 4 digits of account number        6299


 Add the dollar value of your entries in Column A on this page. Write that number here:                                  $523,271.00
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                                 $523,271.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

 [ ]
           Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.5
           Dembo Burns & Browns LLP
           1300 Route 73 Ste 205                                                                    Last 4 digits of account number   6299
           Mount Laurel, NJ 08054-2200




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                               page 3 of 4
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 Debtor 1 George Sariotis                                                               Case number (if known)           3:22-bk-12916
             First Name                Middle Name               Last Name
 Debtor 2 Cindy Sariotis
             First Name                Middle Name               Last Name


 [ ]
          Name, Number, Street, City, State & Zip Code                            On which line in Part 1 did you enter the creditor?   2.3
          Meyner & Landis
          1 Gateway Ctr Fl 25                                                     Last 4 digits of account number
          Newark, NJ 07102-5320

 [ ]
          Name, Number, Street, City, State & Zip Code                            On which line in Part 1 did you enter the creditor?   2.5
          Meyner & Landis LLP
          1 Gateway Ctr Ste 2500                                                  Last 4 digits of account number   6299
          Newark, NJ 07102-5323




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                page 4 of 4
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      Fill in this information to identify your case:

 Debtor 1                   George Sariotis
                            First Name                       Middle Name                       Last Name

 Debtor 2                   Cindy Sariotis
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number           3:22-bk-12916
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim          Priority              Nonpriority
                                                                                                                                            amount                amount
 2.1          Internal Revenue Service                             Last 4 digits of account number         3263             $74,685.85           $74,685.85                     $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?             2012
              51 Haddonfield Rd Ste 300
              Cherry Hill, NJ 08002-4805
              Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
         Debtor 1 only                                             Unliquidated
         Debtor 2 only                                             Disputed
        Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim




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 4.1      Aaron and Company                                      Last 4 digits of account number       7816                                              $5,234.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify

 4.2      Aluma Systems Concrete                                 Last 4 digits of account number                                                         unknown
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?
          PO Box 91473
          Chicago, IL 60693-1473
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify      judgment


 4.3      American Builders                                      Last 4 digits of account number       4114                                              $5,730.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?
          1 American Way
          Walden, NY 12586-2821
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify




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 4.4      Amex                                                   Last 4 digits of account number       5353                                              $7,384.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?           2001-12
          PO Box 981537
          El Paso, TX 79998-1537
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify

 4.5      Avant LLC/Web Bank                                     Last 4 digits of account number       5200                                                $29.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?           2019-10
          222 N La Salle St
          Chicago, IL 60601-1003
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify      credit card


 4.6      Capital Accounts                                       Last 4 digits of account number       6744                                               $100.00
          Nonpriority Creditor's Name
          Attn Bankruptcy Dept                                   When was the debt incurred?           2017-08
          PO Box 140065
          Nashville, TN 37214-0065
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify




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 4.7      Discover Fin Svcs LLC                                  Last 4 digits of account number       3323                                             $13,857.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?           2007-03
          PO Box 15316
          Wilmington, DE 19850-5316
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify      credit card


 4.8      Dreyers Lumber & Hardward Inc.                         Last 4 digits of account number                                                        $41,228.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?           2017
          20 Watchung Ave
          Chatham, NJ 07928-2751
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify      Judgment/business debt


 4.9      Hudson Insurance Company                               Last 4 digits of account number                                                       $220,053.90
          Nonpriority Creditor's Name
          Westerman Sheehy Keenan                                When was the debt incurred?
          333 Earle Ovington Blvd Ste 702
          Uniondale, NY 11553-3622
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify      Judgment/Business debt




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 4.10     Internal Revenue Service                               Last 4 digits of account number       3263                                              $6,761.10
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?
          51 Haddonfield Rd Ste 300
          Cherry Hill, NJ 08002-4805
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                         Contingent
           Debtor 2 only                                         Unliquidated
          Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify

 4.11     Jaeger Lumber and Supp Ly Co Inc                       Last 4 digits of account number       4814                                              $6,091.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?
          1835 Swarthmore Ave
          Lakewood, NJ 08701-4533
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify      judgment


 4.12     Joseph Fazio Wall L Lc                                 Last 4 digits of account number       2915                                             $14,778.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?
          5001 Routes 33 & 34
          Farmingdale, NJ 07727
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify      Judgment/business debt




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 4.13     Jpmcb Card                                             Last 4 digits of account number       8424                                             $18,974.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?           2000-10
          PO Box 15369
          Wilmington, DE 19850-5369
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify

 4.14     Mission Lane/Tab Bank                                  Last 4 digits of account number       8276                                               $161.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?           2019-08
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify      credit card


 4.15     State of New jersey                                    Last 4 digits of account number       3314                                              $6,443.00
          Nonpriority Creditor's Name
          Div of Taxation Bk Se P O                              When was the debt incurred?
          PO Box 245
          Trenton, NJ 08602-0245
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                          Contingent
           Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
          No                                                     Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify




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 4.16      Tcm Bank NA                                           Last 4 digits of account number       0440                                                $1,782.00
           Nonpriority Creditor's Name
                                                                 When was the debt incurred?           2004-06
           PO Box 31481
           Tampa, FL 33631-3481
           Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                         Contingent
            Debtor 2 only                                        Unliquidated
            Debtor 1 and Debtor 2 only                           Disputed
            At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community               Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                       report as priority claims

           No                                                    Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                 Other. Specify

 4.17      Wells Fargo                                           Last 4 digits of account number       7506                                                   $732.00
           Nonpriority Creditor's Name
           Attn Bankruptcy                                       When was the debt incurred?           2007-10
           1 Home Campus # MACX2303-01A
           Des Moines, IA 50328-0001
           Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                         Contingent
            Debtor 2 only                                        Unliquidated
            Debtor 1 and Debtor 2 only                           Disputed
            At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community               Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                       report as priority claims

           No                                                    Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                 Other. Specify      credit card


 4.18      Woodhaven Lumber & Millwork                           Last 4 digits of account number       6715                                                $5,237.00
           Nonpriority Creditor's Name
                                                                 When was the debt incurred?
           200 James St
           Lakewood, NJ 08701-4103
           Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                         Contingent
            Debtor 2 only                                        Unliquidated
            Debtor 1 and Debtor 2 only                           Disputed
            At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community               Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                       report as priority claims
           No                                                    Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                 Other. Specify      judgment

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 9
Software Copyright (c) 2022 CINGroup - www.cincompass.com
          Case 22-12916-MBK                          Doc 25       Filed 05/04/22 Entered 05/04/22 17:14:32                                           Desc Main
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 Debtor 1
 Debtor 2 Sariotis, George & Sariotis, Cindy                                                          Case number (if known)          3:22-bk-12916
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital Accounts                                           Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 140065                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Nashville, TN 37214-0065
                                                            Last 4 digits of account number                  6744
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Hudson Law Offices, PC                                     Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 For Aluma Systems Concrete                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 900 Route 168 Ste C-2
 Turnersville, NJ 08012-3233
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Kathleen R. Wall, Esq.                                     Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Atty for Joseph Fazzio-Wall LLC                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box A
 Manasquan, NJ 08736-0631
                                                            Last 4 digits of account number                  2915
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Marvel & Maloney                                           Line 4.18 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Attys for Woodhaven Lumber                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 727
 Neptune, NJ 07754-0727
                                                            Last 4 digits of account number                  6715
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Mellinger Sanders Kartzman LLC                             Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 101 Gibraltar Dr Ste 2F                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Morris Plains, NJ 07950-1287
                                                            Last 4 digits of account number                  4814
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 NJ Attorney General                                        Line 4.15 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Division of Law Richard J Hughes                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Justice
 25 Market St
 Trenton, NJ 08611-2148
                                                            Last 4 digits of account number                  3314
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Pressler Felt & Warshaw, LLP                               Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 7 Entin Rd                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Parsippany, NJ 07054-5020
                                                            Last 4 digits of account number                  3323
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Ronald J Nelson, Esq                                       Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 re Dreyer Lmber & Hardware                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 162 Washington Valley Rd Ste 207
 Warren, NJ 07059-7100
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 U S Attorney Genera                                        Line 2.1 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 U S Dept of Justice                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 950 Pennsylvania Ave NW
 Washington, DC 20530-0009
                                                            Last 4 digits of account number                  3263
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 U S Attorney General                                       Line 2.1 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 970 Broad St                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Newark, NJ 07102-2534
                                                            Last 4 digits of account number                  3263


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 8 of 9
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 Debtor 1
 Debtor 2 Sariotis, George & Sariotis, Cindy                                                            Case number (if known)     3:22-bk-12916

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.     $                      0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.     $                 74,685.85
                        6c.   Claims for death or personal injury while you were intoxicated              6c.     $                      0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.     $                      0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.     $                 74,685.85

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.     $                      0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.     $                      0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.     $                      0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                               $               354,575.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.     $               354,575.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 9 of 9
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              Case 22-12916-MBK                        Doc 25         Filed 05/04/22 Entered 05/04/22 17:14:32                            Desc Main
                                                                    Document      Page 33 of 51
              Fill in this information to identify your case:

 Debtor 1                 George Sariotis
                          First Name                         Middle Name           Last Name

 Debtor 2                 Cindy Sariotis
 (Spouse if, filing)      First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:               DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number           3:22-bk-12916
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Nissan-Infiniti Lt                                                        Installment account Lease 39 months @468 p/m
              PO Box 660366
              Dallas, TX 75266-0366




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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                                                                       Document      Page 34 of 51
              Fill in this information to identify your case:

 Debtor 1                   George Sariotis
                            First Name                           Middle Name        Last Name

 Debtor 2                   Cindy Sariotis
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number            3:22-bk-12916
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
      Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Thalia Sariotis                                                                       Schedule D, line       2.2
                61 Redwood Dr                                                                          Schedule E/F, line
                Ocean, NJ 07712-8711
                                                                                                       Schedule G
                                                                                                      McCormick 110, LLC



    3.2         Thalia Sariotis                                                                       Schedule D, line       2.4
                61 Redwood Dr                                                                          Schedule E/F, line
                Ocean, NJ 07712-8711                                                                   Schedule G
                                                                                                      Ocean First Bank




Official Form 106H                                                              Schedule H: Your Codebtors                                       Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      George Sariotis

Debtor 2                      Cindy Sariotis
(Spouse, if filing)

United States Bankruptcy Court for the:        DISTRICT OF NEW JERSEY, TRENTON DIVISION

Case number               3:22-bk-12916                                                                    Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation              Construction Consultant                      Office Manager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         Burke Construction                           Ivy Hedge Early Childcare

       Occupation may include student or Employer's address
                                                                     1001 Hopewell Ave                            65 Monmouth Rd
       homemaker, if it applies.
                                                                     Ocean, NJ 07712-3985                         Oakhurst, NJ 07755-1667

                                             How long employed there?           6 months                                   17 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $         6,500.00        $         1,919.21

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      6,500.00               $   1,919.21




Official Form 106I                                                        Schedule I: Your Income                                                    page 1
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Debtor 1
Debtor 2    Sariotis, George & Sariotis, Cindy                                                      Case number (if known)    3:22-bk-12916


                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $      6,500.00       $         1,919.21

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $        713.31        $         170.19
      5b.    Mandatory contributions for retirement plans                                    5b.        $          0.00        $           0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $          0.00        $           0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $          0.00        $           0.00
      5e.    Insurance                                                                       5e.        $         45.85        $          13.54
      5f.    Domestic support obligations                                                    5f.        $          0.00        $           0.00
      5g.    Union dues                                                                      5g.        $          0.00        $           0.00
      5h.    Other deductions. Specify:                                                      5h.+       $          0.00 +      $           0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $            759.16       $          183.73
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          5,740.84       $       1,735.48
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00    $              0.00
      8b. Interest and dividends                                                             8b.        $              0.00    $              0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $          0.00        $              0.00
      8d. Unemployment compensation                                                          8d.        $          0.00        $              0.00
      8e.    Social Security                                                                 8e.        $      2,446.00        $              0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $               0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $               0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $               0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $          2,446.00       $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            8,186.84 + $       1,735.48 = $           9,922.32
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$              0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $           9,922.32
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
     Yes. Explain: Family members assist the Debtor.




Official Form 106I                                                      Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                George Sariotis                                                                      Check if this is:
                                                                                                              An amended filing
Debtor 2                Cindy Sariotis                                                                        A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:    DISTRICT OF NEW JERSEY, TRENTON                                           MM / DD / YYYY
                                           DIVISION

Case number           3:22-bk-12916
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
      Yes. Does Debtor 2 live in a separate household?
           No
                 Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?             No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’  s relationship to        Dependent’
                                                                                                                                 s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                                                                                 Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include
      expenses of people other than
                                                No
      yourself and your dependents?              Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                          411.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                        800.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                        200.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                        300.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                          0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                          0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
      Case 22-12916-MBK                       Doc 25         Filed 05/04/22 Entered 05/04/22 17:14:32                                        Desc Main
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Debtor 1
Debtor 2     Sariotis, George & Sariotis, Cindy                                                        Case number (if known)       3:22-bk-12916

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              700.00
      6b. Water, sewer, garbage collection                                                     6b. $                                               170.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              420.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                            1,000.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                               60.00
10.   Personal care products and services                                                      10. $                                               150.00
11.   Medical and dental expenses                                                              11. $                                               185.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               220.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               200.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                               416.66
      15b. Health insurance                                                                   15b. $                                               370.87
      15c. Vehicle insurance                                                                  15c. $                                               200.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               468.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                 0.00
      17c. Other. Specify:                                                                    17c. $                                                 0.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                 0.00
      20b. Real estate taxes                                                                  20b. $                                                 0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                 0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                 0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                 0.00
21.   Other: Specify:        non debtor epenses                                                21. +$                                              622.72
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       6,894.25
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       6,894.25
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               9,922.32
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              6,894.25

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                               3,028.07

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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      Fill in this information to identify your case:

Debtor 1                    George Sariotis
                            First Name             Middle Name             Last Name

Debtor 2                    Cindy Sariotis
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:       DISTRICT OF NEW JERSEY, TRENTON DIVISION

Case number              3:22-bk-12916
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ George Sariotis                                               X   /s/ Cindy Sariotis
             George Sariotis                                                   Cindy Sariotis
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       May 3, 2022                                            Date    May 3, 2022
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              Fill in this information to identify your case:

 Debtor 1                  George Sariotis
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Cindy Sariotis
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number           3:22-bk-12916
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:         Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                               Dates Debtor 1 lived       Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                             lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2          Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                 Gross income                  Sources of income               Gross income
                                                  Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                    exclusions)                                                   and exclusions)




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                 Gross income from             Sources of income             Gross income
                                                  Describe below.                   each source                   Describe below.               (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until             Social Security                                $8,337.00        Social Security                        $4,035.00
 the date you filed for bankruptcy:


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.      Go to line 7.
                     Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                            Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                    paid             still owe
       paid utiilites, food and other                                                                $0.00               $0.00      Mortgage
       household                                                                                                                     Car
                                                                                                                                     Credit Card
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                    Other   utilities, food etc


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an




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      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                             Nature of the case           Court or agency                          Status of the case
       Case number
       Gregory Sariotis et al v. Matthew                      book account                 Monmouth County                           Pending
       Tucci                                                                               Superior Court                              On appeal
       MON-L-3242-19                                                                       71 Monument St
                                                                                                                                       Concluded
                                                                                           Freehold, NJ 07728-1747


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                            property
                                                              Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                              Describe the action the creditor took                          Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per               Describe the gifts                                       Dates you gave                    Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:




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14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                       Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                     Date of your         Value of property
       how the loss occurred                                                                                                 loss                              lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or            Amount of
       Address                                                        transferred                                            transfer was                payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       Broege, Neumann, Fischer & Shaver                              legal services rendered                                3/2019                     $6,717.00
       LLC
       25 Abe Voorhees Dr
       Manasquan, NJ 08736-3560
       1973, LLC


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or            Amount of
       Address                                                        transferred                                            transfer was                payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                 Describe any property or          Date transfer was
       Address                                                        property transferred                     payments received or debts        made
                                                                                                               paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a




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      beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                         Date Transfer was
                                                                                                                                              made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was       Last balance before
       Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,           closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                         have it?
                                                                    and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                       have it?
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                 Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5

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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                 Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                    ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                 Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                    ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                   Court or agency                            Nature of the case                    Status of the
       Case Number                                                  Name                                                                             case
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                          Describe the nature of the business                   Employer Identification number
       Address                                                                                                      Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)             Name of accountant or bookkeeper
                                                                                                                    Dates business existed
       1973 LLC                                               consulting                                            EIN:        0450087105
       1801 Pitney St
       Oakhurst, NJ 07755-2840                                Jerold Dreskin CPA 1903 S                             From-To     2016 to present
                                                              Congress Ave, Ste 340 Boynton
                                                              Beach, FL 33426

       TSS Holding LLC                                        Investment property                                   EIN:

                                                                                                                    From-To     Began 1986 and transferred his in
                                                                                                                                2/2019


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
       Name                                                   Date Issued
       Address
       (Number, Street, City, State and ZIP Code)



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 Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ George Sariotis                                                    /s/ Cindy Sariotis
 George Sariotis                                                        Cindy Sariotis
 Signature of Debtor 1                                                  Signature of Debtor 2

 Date     May 3, 2022                                                   Date      May 3, 2022

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

 Debtor 1           George Sariotis

 Debtor 2           Cindy Sariotis
 (Spouse, if filing)

                                                   District of New Jersey, Trenton
 United States Bankruptcy Court for the:           Division
                                                                                                   Check if this is an amended filing
 Case number        3:22-bk-12916
 (if known)


Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                                  12/21

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11 (other than Subchapter V). If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.


        Not married. Fill out Column A, lines 2-11.

        Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
       Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.

    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.
    11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your
    monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount
    more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to
    report for any line, write $0 in the space.
                                                                                                  Column A              Column B
                                                                                                  Debtor 1              Debtor 2

  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                         $       6,500.00       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                       $            0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line .3                                             $               0.00      $
  5. Net income from operating a
     business, profession, or farm               Debtor 1                  Debtor 2
       Gross receipts (before all deductions)                           $       0.00
       Ordinary and necessary operating expenses                        -$      0.00
       Net monthly income from a business, profession, or farm $                0.00 Copy here -> $            0.00      $
  6. Net income from rental and
     other real property                         Debtor 1                  Debtor 2
       Gross receipts (before all deductions)                           $       0.00
       Ordinary and necessary operating expenses                        -$      0.00
       Net monthly income from rental or other real property           $        0.00 Copy here -> $            0.00      $




Official Form 122B                                      Chapter 11 Statement of Your Current Monthly Income                                       page 1
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                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2

                                                                                                     $                 0.00       $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                       $                 0.00       $
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
            For you                                               $                   0.00
            For your spouse                                       $
  9. Pension or retirement income. Do not include any amount received that was a benefit
     under the Social Security Act. Also, except as stated in the next sentence, do not
     include any compensation, pension, pay, annuity, or allowance paid by the United States
     Government in connection with a disability, combat-related injury or disability, or death of
     a member of the uniformed services. If you received any retired pay paid under chapter
     61 of title 10, then include that pay only to the extent that it does not exceed the amount
     of retired pay to which you would otherwise be entitled if retired under any provision of
     title 10 other than chapter 61 of that title.                                                $                    0.00       $
  10. Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act; payments received as a
      victim of a war crime, a crime against humanity, or international or domestic terrorism; or
      compensation, pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or death of
      a member of the uniformed services. If necessary, list other sources on a separate page
      and put the total below.
                  Social Security                                                                    $           2,591.00         $
                                                                                                     $                 0.00       $
                  Total amounts from separate pages, if any.                                   +     $                 0.00       $

  11. Calculate your total current monthly income.
       Add lines 2 through 10 for each column.
       Then add the total for Column A to the total for Column B.                          $       9,091.00           +   $                  =   $   11,010.21




Official Form 122B                                      Chapter 11 Statement of Your Current Monthly Income                                                page 2
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            Case 22-12916-MBK                        Doc 25     Filed 05/04/22 Entered 05/04/22 17:14:32                                 Desc Main
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 Debtor 1
 Debtor 2    Sariotis, George & Sariotis, Cindy                                                      Case number (if known)   3:22-bk-12916




 Part 2:       Sign Below

             By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

            X /s/ George Sariotis                                                    X /s/ Cindy Sariotis
                George Sariotis                                                         Cindy Sariotis
                Signature of Debtor 1                                                   Signature of Debtor 2

        Date May 3, 2022                                                          Date May 3, 2022
             MM / DD / YYYY                                                            MM / DD / YYYY




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                            District of New Jersey, Trenton Division
 In re       Sariotis, George & Sariotis, Cindy                                                              Case No.     3:22-bk-12916
                                                                              Debtor(s)                      Chapter      11

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

          FLAT FEE
             For legal services, I have agreed to accept                                                 $
             Prior to the filing of this statement I have received                                       $
             Balance Due                                                                                 $

             RETAINER
             For legal services, I have agreed to accept and received a retainer of                      $                  5,000.00
             The undersigned shall bill against the retainer at an hourly rate of                   $                          625.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                    Debtor         Other (specify):

3.     The source of compensation to be paid to me is:
                    Debtor         Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 plus filing fee of $1,717.00

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               The said retainer is a retainer against the fees to be determined at the conclusion of these proceedings, or at
               such intervals and in such amounts as the Court may approve the said compensation and any further
               compensation to be determined as the Court may allow, in accordance with the provisions of United States
               Bankruptcy Code. Representation of the Debtor(s) in an adversary proceeding, contested motion, additional
               appearances before the Trustee after the initial meeting of creditors, or at an examination of the Debtor(s) or
               others pursuant to Bankruptcy Rule 2004 which services shall be billed at normal hourly rates.




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 In re       Sariotis, George & Sariotis, Cindy                                                     Case No.     3:22-bk-12916
                                                            Debtor(s)

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                              (Continuation Sheet)
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 3, 2022                                                             /s/ Timothy P. Neumann Esq
     Date                                                                    Timothy P. Neumann Esq
                                                                             Signature of Attorney
                                                                             Broege, Neumann, Fischer & Shaver LLC

                                                                             25 Abe Voorhees Dr
                                                                             Manasquan, NJ 08736-3560
                                                                             (732) 223-8484 Fax: (732) 223-2416
                                                                             tneumann@bnfsbankruptcy.com
                                                                             Name of law firm




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